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                                                               FILED
                                                         February 10, 2022
                                                        CLERK, U.S. DISTRICT COURT
                                                        WESTERN DISTRICT OF TEXAS

                                                               Jennifer Clark
                                                     BY: ________________________________
                                                                             DEPUTY
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                                     ADMITTED EXHIBITS


      Joint Exhibits           Defendant's             Plaintiffs
      JX2                      DTX003                  PTX59        PTX298
      JX3                      DTX004                               PTX302
                               DTX005                  PTX82        PTX315
                               DTX008                  PTX83        PTX324
                               DTX0l5                  PTX94        PTX409
                               DTX099                  PTX96        PTX414
                               DTX103                  PTX97        PTX415
                               DTX167                  PTXI02       PTX427
                               DTXl68                  PTXI03       PTX441
                               DTXl71                  PTXI11
                               DTXI74                  PTXI14       PTX594
                               DTX207                  PTXl74       PTX654
                               DTX208                  PTX256       PTX738
                               DTX209                  PTX257       PTX915
                               DTX219                  PTX258       PTX916
                               DTX224                  PTX263       PTX919
                               DTX276                  PTX271       PTX920
                               DTX282                  PTX272       PTX923
                               DTX287                  PTX273       PTX924
                               DTX665                  PTX277       PTX925
                               DTX731                  PTX280       PTX928
                                                       PTX281       PTX929
                                                       PTX284       PTX940
                               Def Physical            PTX292
                               I, 2, 3, 4 and 5        PTX295
